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                            EXHIBIT A
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                                   NEW YORK
                                   STATE OF         Department of
                                   OPPORTUNITY.
                                                    Financial Services
                        KATHY HOCHUL                          ADRIENNE A. HARRIS
                        Governor                              Superintendent




                      STATE OF NEW YORK
                      Civil Court, Albany

                                                                                                                529206/2023
                     Dmitiri Voronin and Nina Voronin                                       Plaintiff(s)


                                                                against


                                                                                            Defendant(s)
                      AmGUARD Insurance Company

                      RE :AmGUARD Insurance Company
                      Attorney for Plaintiffs) and Defendant(s) please take notice as follows:

                      Attorney for Plaintiff(s) is hereby advised of acknowledgement of service upon this Department
                      Summons and Verified Complaint Notice of E-Filing in the above entitled action on October 16, 2023 at
                      Albany, New York. The $40.00 fee is also acknowledged.

                      Original to Attorney for Plaintiffs):
                           Greenblat Agulnick Kremin, P.C.
                           510 Broadhollow Road, Suite 303
                           Melville, New York 11747
                      Pursuant to the requirement of section 1212 of the Insurance Law, Defendant^) is hereby notified of
                      service as effected above. A copy of the paper is enclosed.

                      Duplicate to Defendant:
                           Matt OConnor
                           AmGUARD Insurance Company
                           PO Box A-H
                           Wilkes-Barre, Pennsylvania 18703




                                                                                      Rawle Lewis
                                                                                      Director of Producer Licensing
                      Dated Albany, New York, October 16, 2023
                       724908                   alicOphd




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    CIVIL COURT OF THE CITY OF NEW YORK
    COUNTY OF KINGS

    DMITRI VORONIN and NINA VORONIN

                              Plaintiff/Petitioner,
                - against -                                       Index No 529206/2023

    AMGUARD INSURANCE COMPANY

                              Defendant/Respondent.
                                                  x
                                NOTICE OF ELECTRONIC FILING
                                        (Consensual Case)
                                     (Uniform Rule § 208.4-a)

         You have received this Notice because:

                •The Plaintiff/Petitioner, whose name is listed above, has filed this case using the
                New York State Courts e-filing system, and

                •You are a Defendant/Respondent (a party) in this case.
         If you are represented by an attorney: give this Notice to your attorney (Attorneys: see
         “Information for Attorneys" pg. 2).

         If you are not represented by an attorney: you are not required to e-file. You may
f        serve and file documents in paper form and you must be served with documents in
         paper form. However, as a party without an attorney, you may participate in e-filing.

                                          Benefits of E-Filing
                       You can:

                       •serve and file your documents electronically
                       •view your case file on-line
                       •limit your number of trips to the courthouse
                       •pay any court fees on-line.
         There are no additional fees to file, view, or print your case records.

         To sign up for e-filing or for more information about how e-filing works, you may:

         •visit: www.nycourts.gov/efile-unrepresented or
         •  go to the Help Center or Clerk’s Office at the court where the case was filed. To find legal
         information to help you represent yourself visit www.nvcourthelp.gov

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                                    Information for Attorneys


        An attorney representing a party who is served with this notice must either consent or
        decline consent to electronic filing and service through NYSCEF for this case.

        Attorneys registered with NYSCEF may record their consent electronically in the manner
        provided at the NYSCEF site. Attorneys not registered with NYSCEF but intending to
        participate in e-filing must first create a NYSCEF account and obtain a user ID and
        password prior to recording their consent by going to www.nvcourts.gov/efile.

        Attorneys declining to consent must file with the court and serve on all parties of record a
        declination of consent.

        For additional information about electronic filing and to create a NYSCEF account, visit the
        NYSCEF website at www.nvcourts.gov/efile or contact the NYSCEF Resource Center
        (phone: 646-386-3033; e-mail: nyscef@nycourts.gov).


Dated: OCTOBER 10, 2023


SCOTT E. AGULNICK, ESQ.                                 510 BROADHOLLOW ROAD, SUITE 3C
          Name                                                    Address

GREENBLATT AGULNICK KREMIN F
                                                        MELVILLE, NEW YORK 11747
                Firm Name

                                                        718-352-4800
                                                                    Phone

                                                        SAGULNlCK@GAKLAWFIRM.COM
                                                                      etob


To:     AMGUARD INSURANCE COMF

        39 PUBLIC SQUARE

        WILKES-BARRE, PENNSYLV4



                                                                             7/19/19


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           SUPREME COURT OF THE STATE OF NEW YORK
           COUNTY OF KINGS                                              Index No.

           DMITRI VORONIN and NINA VORONIN,
                                               X              —         Date Filed:

                                                                        SUMMONS
                                          Plaintiffs,
                                                                        Plaintiffs designate KINGS
                                  -against-                             County. The basis of the
                                                                        venue designated is
           AMGUARD INSURANCE COMPANY,                                   residence of Plaintiff.

                                                                        Plaintiffs’ address:
                                          Defendant.                    2012 Gerritsen Avenue
                                                                  X     Brooklyn, New York 1 1229

          TO THE ABOVE-NAMED DEFENDANT:

                 YOU ARE HEREBY SUMMONED and required to serve upon Plaintiffs’ attorney an

          answer to the complaint in this action within twenty (20) days after the service of this summons,

          exclusive of the day of service, or within thirty (30) days after service is complete if this summons

          is not personally delivered to you within the State of New York. In case of your failure to answer,

          judgment will be taken against you by default for the relief demanded in the complaint.


          Dated: Melville, New York
                 October 10, 2023


                                                        Yours, etc.
                                                        GREENBLATT AGULNICK KREMIN P.C.,



                                                                Scott E. Agulnick, Esq.
                                                        Attorney for Plaintiffs
                                                        DMITRI VORONIN and NINA VORONIN
                                                        510 Broadhollow Road, Suite 303
                                                        Melville, New York 1 1747
                                                        Tel: (718) 352-4800
                                                        Fax: (718) 732-2110




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          Defendant’s Address:

          AmGUAkD Insurance Company
          39 Public Square
          Wilkes-Barre, Pennsylvania 18703-0020




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           SUPREME COURT OF THE STATE OF NEW YORK
           COUNTY OF KINGS
                                                                  X
           DMITRI VORONIN and NINA VORONIN,
                                                                         Index No.
                                         Plaintiffs,

                                  -against-                              VERIFIED COMPLAINT

           AMGUARD INSURANCE COMPANY,

                                         Defendant.
                                                                  X


                 Plaintiffs DMITRI       VORONIN and NINA VORONIN, by                       their attorneys,

          GREENBLATT AGULNICK KREMIN, P.C., for their Verified Complaint against the

          Defendant AMGUARD INSURANCE COMPANY, allege as follows:

                                                   THE PARTIES

                 1.       DMITRI VORONIN and NINA VORONIN (hereinafter the “VORONINS”) are

          husband and wife and individuals with a residence located at 2012 Gerritsen Avenue, Brooklyn,

          New York 1 1229 in the County of Kings, and State of New York.

                 2.      That    Defendant     AMGUARD         INSURANCE         COMPANY         (hereinafter

         “AMGUARD” or “Insurance Company”) is a domestic corporation with its principal offices

          located at 39 Public Square, Wilkes-Barre, Pennsylvania 18703-0020.

                 3.      Defendant AMGUARD, its subsidiary, and/or agent is an insurance company

          licensed, admitted, engaging in, and authorized to engage in the business of liability and casualty

          insurance, including homeowner’s insurance coverage in the State of New York, with offices for

          the transaction of business located within the State of New York.

                 4.      Plaintiffs bring this action against Defendant AMGUARD with regard to Defendant

          AMGUARD’s failure to fully indemnify Plaintiffs for their loss and insurance claim following




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          water damage at 2012 Gerritsen Avenue, Brooklyn (hereinafter the “Property”), which occurred

          suddenly and accidentally on or about October 6, 2022, the facts and circumstances being more

          fully set forth below.

                                                 RELEVANT FACTS

                 5.      That Defendant AMGUARD, its subsidiary, and/or agent, for good and valuable

          consideration and a premium paid, issued and/or reissued to Plaintiffs an insurance policy,

          including endorsements and amendments thereto which became a part of said policy, bearing the

          Policy No. DMH03 1 5596 (hereinafter the "Policy"), whereby it insured the Property and contents

          therein against all risks of loss to the Property up to the limits contained therein, including, inter

          alia, loss from water damage. The Policy was signed by the authorized agents of Defendant

          AMGUARD, its subsidiary, and/or agent.

                 6.      Pursuant to the Policy, Defendant AMGUARD, its subsidiary, and/or agent agreed

          to insure the Plaintiffs against loss of property caused by, inter alia, water damage. Defendant

          AMGUARD, its subsidiary, and/or agent, during the policy terms, and agreed to indemnify

          Plaintiffs against loss or damage sustained to the Property and certain contents therein.

                 7.      On or about October 6, 2022, and while the insurance policy was in full force and

          effect, water discharged from the plumbing system at the Property, causing water damage to the

          dwelling and certain contents therein (hereinafter the “Loss”).

                 8.      By reason of the above-mentioned occurrence, Plaintiffs have sustained a direct

          loss to the dwelling and certain contents therein which is covered under the terms of the Policy.

                 9.      Defendant AMGUARD, its subsidiary, and/or agent, was notified of the subject

          Loss as soon thereafter as was practicable and a claim was submitted (hereinafter the “Claim”).

                 10.     Plaintiffs have submitted to Defendant AMGUARD’s request for a complete




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          investigation of all the facts and circumstances surrounding the loss, to the extent that such was

          requested by Defendant.

                   1 1.   Plaintiffs have satisfied all conditions precedent to the instant suit.

                   12.    At all times mentioned, Plaintiffs have not obtained any other insurance upon the

          Property.

                   13.    By reason of Defendant AMGU ARD's contractual undertaking to Plaintiffs,

          pursuant to the Policy, to properly evaluate and pay claims thereunder to the extent of Plaintiffs’

          loss up to the limits prescribed by the Policy, Insurance Company owed and continues to owe

          Plaintiffs the duties of good fai± and fair dealing in connection with the parties' contractual

          relationship.

                   14.    In accordance with the aforesaid duties of good faith and fair dealing, Insurance

          Company was and is prohibited from undertaking any act which would have the effect of injuring

          or destroying Plaintiffs’ rights deriving from their contractual relationship with Insurance

          Company under the Policy.

                   15.    That despite their duties of good faith and fair dealing, AMGUARD failed, refused,

          and/or denied material aspects of the Claim, and otherwise disregarded the Plaintiffs’ actual rights

          under the Policy and breached the Policy.

                   16.    That the Defendant’s failure and refusal to fully indemnify Plaintiffs under the

          Policy was self-serving and deceptive, and in bad faith.

                   17.    By, inter alia, failing to pay Plaintiffs under the Policy to the full extent of

          Plaintiffs’ loss up to the limits of the Policy, despite legal precedent, statutory authority, and/or

          contractual obligations, Insurance Company acted in bad faith and breached the duties of good

          faith and fair dealing owed to Plaintiffs.




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                   18.    Furthermore, Insurance Company, and its agents, servants and/or employees, are

           governed by the regulations promulgated by the Superintendent of Insurance of the New York

           State Insurance Department as set forth in 1 1 NYCR.R § 216, which Defendant violated.

                   1 9.   The New York Insurance Law prohibits and/or requires certain actions by insurers,

           their agents, and representatives; and conduct by insurers, their agents and representatives.

            Deviating from the following, as AMGUARD did is deemed unfair claim settlement practice

           thereunder:

                          (a)     Insurers may not engage .in failing to acknowledge with reasonable

                   promptness pertinent communications as to claims arising under their policies.

                          (b)     Insurers may not fail to adopt and implement reasonable standards for the

                   prompt investigation of claims arising under their policies.

                          (c)     Insurers may not fail to attempt in good faith to effectuate prompt, fair and

                  equitable settlements of claims submitted in which liability has become reasonably clear.

                          (d)     Insurers may not compel policyholders to institute suits to recover amounts

                  due under their policies by offering substantially less than the amounts ultimately

                   recovered in suits brought by them.

                   20.    Insurance Company's actions toward Plaintiffs are part of a pattern and practice by

           Insurance Company to sell insurance policies to property owners, and then subsequently take the

           position that, under its latest interpretation or based upon its purported investigation, there is or

           may be limited or no coverage, effectively denying, reducing, or hindering the processing of

           legitimate claims.

                  21.     Insurance Company regularly denies otherwise legitimate claims, setting forth

           frivolous grounds for the denial, that are contrary to fact, common sense, and causation.




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                   22.     The Defendant AMGUARD has failed to and/or refused to fully indemnify the

           Plaintiffs for their total loss in an amount, with the outstanding amounts to be determined at the

           time of trial but believed to be in excess of seventy-five thousand dollars ($75,000.00), although a

           demand has been made.

                                     AND AS FOR A FIRST CAUSE OF ACTION
                                              BREACH OF CONTRACT

                   23.     Plaintiffs repeat and re-allege all allegations previously set forth in the instant

           complaint as if more completely and fully set forth herein.

                   24.     By failing to pay Plaintiffs under the Policy to the full extent of Plaintiffs’ loss up

           to the limits of the Policy and based upon their conduct as set forth above, AMGUARD breached

           its obligation under the Policy with regard to the Loss at the Property as well as their duty of good

           faith and fair dealing.

                   25.     As a result of AMGU ARD's breach, Plaintiffs have been damaged in an amount to

           be determined at the time of trial but believed to be in excess of seventy-five thousand dollars

           ($75,000.00), plus appropriate statutory interest of nine percent (9%) from the date of the loss.

                   26.     As a further result of Insurance Company’s breach and bad faith, Plaintiffs have

           suffered additional consequential damages in an amount to be determined at the time of trial, and

           pursuant to the Bi-Economy Market, Inc, v. Harleysville Insurance Company of New York line of

           cases, but believed to be in excess of twenty-five thousand dollars ($25,000.00).

                   27.    That consequential damages were at all times foreseeable, in that it is foreseeable

           that an insured will suffer additional losses when the defendant fails to fully indemnify an insured

           in a timely manner.

                   28.    That it was at all relevant times both expected and foreseeable that Plaintiffs will

           sustain damages including the loss of use and enjoyment of the Property, inability to make repairs,




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          lowered value of the Property, stigma to the Property, the need to procure alternative funds,

          opportunity costs, and other reasonably expected expenses.


                 WHEREFORE, Plaintiffs DMITRI VORONIN and NINA VORONIN, demand

          judgment against Defendant AMGUARD INSURANCE COMPANY as follows:

                 a.       Under the FIRST Cause of Action, damages in an amount to be determined at trial

          but believed to be in excess of seventy-five thousand dollars ($75,000.00), plus appropriate

          statutory interest of nine percent (9%) from the date of the loss; plus consequential damages in an

          amount to be determined at trial but believed to be in excess of twenty-five thousand dollars

          ($25,000.00);

                 b.       Awarding Plaintiffs interest, the costs, expenses, and disbursements of this action;

                 c.       Plaintiffs hereby demand a jury trial on all issues;

                 d.       Such further relief as this Court deems just and proper.


          Dated: Melville, New York
                 October 10, 2023


                                                         Yours, etc.
                                                         GREENBLATT AGULNICK KREMIN P.C.,


                                                         By:
                                                                 Scott E. Agulnick, Esq.
                                                         Attorney for Plaintiffs
                                                         DMITRI VORONIN and NINA VORONIN
                                                         510 Broadhollow Road, Suite 303
                                                         Melville, New York 11747
                                                         Tel: (718)352-4800
                                                         Fax: (718) 732-2110




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                                          ATTORNEY VERIFICATION


                 The undersigned, an attorney admitted to practice law in the State of New York, affirms

          the following to be true under penalty of perjury:

                 I have read the foregoing Summons and Verified Complaint and, upon information and

          belief, believe the contents thereof to be true. The basis of my belief is a review of the file

          maintained in my office. The reason I make this verification is because my client does not reside

          within the county in which I maintain my office.


          Dated: Melville, New York
                 October 10, 2023




                                                                 SCOTT E. AGULNICK, ESQ.




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           Index No:
           SUPREME COURT OF THE STATE OF NEW YORK
           COUNTY OF KINGS

           DMITRI VORONIN and NINA VORONIN,

                                                Plaintiffs,

                                -again st-

           AMGUARD INSURANCE COMPANY,

                                                Defendant.


                                  SUMMONS AND VERIFIED COMPLAINT


                                  GREENBLATT AGULNICK KREMIN P.C.
                                          Attorneys for PLAINTIFF(S)
                                   Office and Post Office Address, Telephone
                                        510 Broadhollow Rd., Suite 303
                                           Melville, New York 11021
                                              Tel:(718) 352- 4800
                                              Fax:(718) 732- 2110

              “WE DO NOT ACCEPT SERVICE BY ELECTRONIC TRANSMISSION (FAX)”


           To:
           Attomey(s) for DEFENDANT(S)

                                     Certification pursuant to 22 NYCRR 130-1.1(a)
           It is hereby certified that, to the best of the undersigned’s knowledge, information and belief,
           formed after an inquiry reasonable under the circumstances, the presentation of the paper and/or
           the contentions herein are not frivolous as defined in section 130-1.1(c).


                          10/10/2023
                           Dated                        SCOTT E. AGULNICK, ESQ.

           Service of a copy of the within                                is hereby admitted




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             NYSCEF Confirmation Notice
             Kings County Supreme Court
             The NYSCEF website has received an electronic filing on 10/10/2023 03:58 PM. Please keep this notice
             as a confirmation of this filing.
                                                               529206/2023
                                DMITRI VORONIN et al v. AMGUARD INSURANCE COMPANY
                                           Assigned Judge: None Recorded


              Documents Received on 10/10/2023 03:58 PM
             Doc #           Document Type
              2              COMPLAINT (AMENDED)



              Filing User
              Scott E Agulnick | sagulnick@gaklawfirm.com | 718-352-4800
              510 Broadhollow Road Suite 303, Melville, NY 11747



              E-mail Service Notifications
              An email regarding this filing has been sent to the following on 10/10/2023 03:58 PM:


                  SCOTT E. AGULNICK - sagulnick@gaklawfirm.com



              Email Notifications NOT Sent

                  Role                 Party                                  Attorney
                  Respondent           AMGUARD INSURANCE                      No consent on record.
                                       COMPANY

              * Court rules require hard copy service upon non-participating parties and attorneys who have opted-out or declined
              consent.




Hon. Nancy T. Sunshine, Kings County Clerk and Clerk of the Supreme Court - kcco-efile@nycourts.gov
Phone: Phone: 347-404-9762     Website: https://www.nycourts.gov/courts/2jd/kingsclerk/index.shtml

NYSCEF Resource Center, nyscef@nycourts.gov
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                                          Matt OConnor
                                 AmGUARD Insurance Company
                                         » POBoxA-H
                                Willkes-Barre, Pennsylvania 18703
